   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 1 of 11




                       UNITED STATES DISTRJCT COURT
                      FOR THE DISTRJCT OF CONNECTICUT

      BAGNALL, et al.,

              Plaintiffs,                      No. 3:11-cv-01703-MPS

                        V.

      SEBELIUS,

               Defendant.                       OCTOBER 3, 2018



          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
          CONTINUE TO MAINTAIN UNDER SEAL DOCUMENTS
                RELATED TO NON-PARTY KEYSTONE
                PEER REVIEW ORGANIZATION, INC.


                               BACKGROUND

      Keystone Peer Review Organization, Inc. ("KEPRO") is a Utilization and

Quality Improvement Organization ("QIO") defined by the Department of

Health and Human Services Centers for Medicare and Medicaid ("CMS") as a

group of health quality experts, clinicians, and consumers organized to improve

the care delivered to people with Medicare. See Exhibit A. QIOs work under

the direction of CMS to assist Medicare providers with quality improvement and

to review quality concerns for the protection of beneficiaries and the Medicare

Trust Fund. Id.



                                        1
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 2 of 11




      Plaintiffs served a subpoena on KEPRO in this case seeking particular

items set forth in the "Documents to be Produced" section of the subpoena. See

Exhibit B. KEPRO responded to the subpoena by providing documents, noting

that certain of the documents were confidential, proprietary, contained trade

secrets, and/or were protected by federal statutes and/or regulations from public

disclosure. Certain of the documents provided pursuant to the subpoena have

now been filed by Plaintiffs with this Court, under seal, in opposition to the

Defendant's motion for summary judgment. The items currently under seal are:

         a. Five transcripts of review sessions concerning short stay reviews
            conducted by KEPRO with hospitals or health systems (Plfs. Exhs.
            20-24);

         b. Training program slides bearing the identification number KEPRO
            0014-23 (Plfs. Ex. 26);

         c. KEPRO Document "Fax Box Procedures and Processes" with
            identification number KEPRO 0114 (Plfs. Ex. 27);

         d. KEPRO "Employee Reference Manual" with identification number
            KEPRO O159-184 (Plfs. Ex. 28); and

         e. "Appendix 003: Two-Midnight Stay Admission Order Guide"
            bearing identification number KEPRO 0189-218 (Plfs. Ex. 29).

      Also filed under seal by Plaintiffs are certain materials which are Medical

 Officer Collaboration Meeting Minutes. These Minutes were provided by the

 Department of Health & Human Services ("HHS"). These minutes are marked

 as Plaintiffs' Exhibits 3, 7, 8 and 9. The minutes identify individuals who are


                                         2
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 3 of 11




 employed as Medical Directors for KEPRO. The Medical Directors are

 actively practicing physicians and meet the definition of peer reviewers.

 Accordingly, KEPRO seeks to have these HHS documents remain under seal.

      There are compelling reasons and good cause to seal certain of the above-

described documents, as set forth below.

                                 ARGUMENT

      A.    THE TRANSCRIPTS OF REVIEW SESSIONS
            SHOULD REMAIN UNDER SEAL.

      HHS is charged by statute with the authority to promulgate regulations

regarding the confidentiality of patient records being held by peer review

organizations. 42 U.S.C. § 1320c-9(a)(2). The regulations must "assure

adequate protection of the rights and interests of patients, health care

practitioners, or providers of health care[.]" Id. HHS has issued regulations

which, among other things, interpret what information is confidential with

respect to QIOs. See 42 CFR Part 480. Under law, the regulations are entitled

to deference. Chevron US.A. v. Natural Res. Def Council, Inc., 467 U.S. 837,

842-43 (1984).

      Among the documents provided pursuant to the subpoena on KEPRO are

transcripts of discussions among KEPRO employees and hospitals regarding

clinical reviews. Plaintiffs have filed five of the transcripts produced by



                                        3
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 4 of 11




KEPRO under seal. These transcripts are labeled Plaintiffs' Exhibits 20-24.

KEPRO seeks to have these transcripts remain under seal.

      The transcripts reveal discussions among KEPRO and hospital staff

regarding the application of the Short Stay Review Rule to particular patients

and initial determinations of medical necessity for inpatient admission. The

discussions deal with the information that KEPRO, as the QIO, acquired and

used in its determinations.

     The transcripts should remain under seal because Federal law specifically

protects the information contained in the transcripts. A QIO is prohibited from

disclosing "data or infonnation acquired ... in the exercise of its duties and

functions .... " 42 U.S.C. § 1320c-9(a). QIO information must be held in

confidence. 42 CFR § 480.103(b ). "Confidential information" means

"[i]nformation that explicitly or implicitly identifies an individual patient,

practitioner or reviewer." 42 CFR § 480.l0l(b). It also includes "[q]uality

review studies which identify patients, practitioners or institutions" and "QIO

deliberations." Id. The regulations also defines the term QIO deliberations:

            QIO deliberations means discussions or communications ...
            including, but not limited to, review notes, minutes of
            meetings and any other records or discussions and judgments
            involving review matters regarding QIO review
            responsibilities and appeals from QIO determinations, in
            which the opinions of, or judgment about, a particular
            individual or institution can be discerned.


                                         4
      Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 5 of 11




Id.

        A QIO may disclose quality review study information to an "institution or

practitioner, if the information is limited to health care services furnished by the

institution or practioner[.]" 42 CFR § 480.140(a)(2).      Otherwise, a QIO may

not disclose its deliberations except to CMS (or the Office of the Inspector

General or the Government Accountability Office). 42 CFR § 480.139(a).

        The transcripts currently under seal, Plaintiffs' Exhibits 20-24, contain

discussions with institutions. They contain confidential information as that term

is defined by 42 CFR § 480.101 (b) in that they identify the institutions, quality

review studies, and the QIO deliberations. Therefore, the transcripts contain the

information specifically prohibited from disclosure by the statute and the

regulations stated above.

        For these reasons, the transcripts (Plfs. Exh. 20-24) should be sealed.




                                          5
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 6 of 11




      B.     KEPRO CONFIDENTIAL DOCUMENTS SHOULD
             REMAIN UNDER SEAL.

      KEPRO responded to Plaintiffs' subpoena by providing certain materials

that it seeks to protect from the public because they contain proprietary

information and/or trade secrets.

      The definition of a "trade secret" is:

              [I]nformation, including a formula, pattern, compilation,
             program, device, method, technique, process, drawing, cost
             data or customer list that: ( 1) Derives independent economic
             value, actual or potential, from not being generally known to,
             and not being readily ascertainable by proper means by, other
             persons who can obtain economic value from its disclosure
             or use, and (2) is the subject of efforts that are reasonable
             under the circumstances to maintain its secrecy.

C.G.S. § 35-51.

      To qualify as a trade secret, information cannot be "[m]atters of public

knowledge or of general knowledge in an industry" and "a substantial element

of secrecy must exist, to the extent that there would be difficulty in acquiring the

information except by the use of improper means." Garden Catering-Hamilton

Ave., LLC v. Wally's Chicken Coop, LLC, 30 F. Supp. 3d 117, 138 (D. Conn.

2014 ). Confidential proprietary data relating to pricing, costs, systems, and

methods are protected by trade secret law. In re Dana Corp., 574 F.3d 129, 152

(2d Cir. 2009).




                                         6
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 7 of 11




      The document that is Plaintiffs' Exhibit 27 is an in-house communication

that identifies procedures and processes for employees to refer to when

processing appeals. See Plfs. Ex. 27. The document contains confidential

proprietary data relating to methods of handling appeals and is used by only

KEPRO employees and not disseminated outside the organization to any third

parties. Information contained in Exhibit 27 could be used by competitors of

KEPRO who might seek to obtain QIO contracts with CMS and who would not

have to expend any resources to set up procedures for handling appeals if there

was public access to KEPRO confidential documents.

      The document that is Plaintiffs' Exhibit 28 is the KEPRO Employee

Reference Manual that contains direction for nurse reviewers who are reviewing

short stay medical records. See Plfs. Ex. 28. The document is confidential

proprietary data relating to methods of handling appeals and is used by only

KEPRO employees and not disseminated outside the organization to any third

parties. Information contained in Exhibit 28 could be used by competitors of

KEPRO who might seek to obtain QIO contracts with CMS and who would not

have to expend any resources to set up procedures for handling appeals if there

was public access to KEPRO confidential documents.




                                        7
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 8 of 11




      The document that is Plaintiffs' Exhibit 29 begins with a page entitled

"Appendix 003." See Plfs. Exh. 29. Contained within Exhibit 29 are pages that

are not proprietary and confidential; specifically;

          • Page KEPRO O194 (cover page) and O194 ("Appendix 005) is a

             CMS document that has been previously published;

          • Pages KEPRO 0198-203 are slides which have become part of the

             public domain through CMS;

          • Pages KEPRO 204-213 are pages which have become part of the

             public domain through CMS; and

         • Pages KEPRO 214-218.

      Accordingly, these pages are not required to be kept under seal.

However, the following pages of Exhibit 29 are proprietary and confidential:

         • Pages KEPRO O189-192; and

         • Pages KEPRO 195-197.

      These pages set forth above (KEPRO 189-192 and 195-197) contain

confidential proprietary data relating to methods of handling appeals and are

used by only KEPRO employees and not disseminated outside the organization

to any third parties. These pages contain confidential information that could be

used by competitors ofKEPRO who might seek to obtain QIO contracts with




                                         8
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 9 of 11




CMS and who would not have to expend any resources to set up procedures for

handling appeals if there was public access to KEPRO confidential documents.

      For the reasons stated above, KEPRO respectfully requests an order that

would keep the following items under seal: Plaintiffs' Exhibits 20-24; Plaintiffs'

Exhibit 27; Plaintiffs' Exhibit 28; Plaintiffs' Exhibit 29 pages numbered

KEPRO 0189-192 and 195-197. 1

      C.     MEDICAL OFFICER COLLABORATION MEETING
             MINUTES SHOULD REMAIN UNDER SEAL.

      HHS documents are also among those filed under seal by Plaintiffs. See

Exhibits 3, 7, 8 and 9. These exhibits contain minutes of meetings that include

the KEPRO Medical Directors. These individuals are practicing physicians and

serve as peer reviewers for KEPRO. The identity of reviewers is "Confidential

information" as defined by the regulations. 42 CFR § 480.101 (b) ("Information

that explicitly or implicitly identifies an individual patient, practitioner or

reviewer."). Because the minutes contain confidential information, they should

remain under seal.

                                  CONCLUSION

       For the reasons stated above, the Plaintiffs Exhibits 20 through 24, 26

through 28, and 29 pages KEPRO 189-192 and 195-197 should remain under

       The document that is labeled "Plfs. Ex. 26" contains no information that
KEPRO claims to be proprietary or confidential and, therefore, it does not need
to be filed under seal.
                                           9
   Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 10 of 11




seal. Additionally, Plaintiffs' Exhibits 3 and 7 through 9, which contain HHS

materials, should remain under seal.

                                       Respectfully submitted,

                                       INTERESTED PARTY,
                                       KEYSTONE PEER REVIEW
                                       ORGANIZATION, INC.


                                       By:   ~/1-3~
                                             Andrew M. Zeitlin ( ct2 l 3 86)
                                             SHIPMAN & GOODWIN LLP
                                             300 Atlantic Street, Third Floor
                                             Stamford, CT 06901-3522
                                             Tel. (203) 324-8100
                                             Fax (203) 324-8199
                                             E-mail: azeitlin@goodwin.com
                                             Its Attorneys




                                        10
    Case 3:11-cv-01703-MPS Document 340-1 Filed 10/03/18 Page 11 of 11




                         CERTIFICATE OF SERVICE

             I hereby certify that on October 3, 2018 a copy of the foregoing

was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by e-mail to all parties by

operation of the Court's electronic filing system or by mail to anyone unable to

accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court's CM/ECF System.




                                         /s/ Andrew M. Zeitlin
                                         Andrew M. Zeitlin (ct213 86)




7017953v2




                                          11
